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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION



IN RE:                                 Case Nos.   CR120-014. USA v. Gunn, et a!
                                                   CRI21-048. USA V. Sias
LEAVE OF ABSENCE REQUEST                           CR121-074. USAv. Gamble


TARA M. LYONS
June 27, 2022-July 1,2022




                                           ORDER


       Tara M. Lyons having made application to the Court for a leave of absence, and it being

evident from the application that the provisions of Local Rule 83.9 have been complied with, and

no objections having been received;

       IT IS HEREBY ORDERED THAT Tara M. Lyons be granted leave of absence for the

following period June 27,2022 through July 1, 2022.

       This^$3^kiy of March, 2022.

                                            J. RANDt^HALL. CT4IEF JUDGE
                                            UNITEI^TArHS DISTRICT COURT
                                            SOUTTIERN DISTRICT OF GEORGIA
